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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 1:18-cv-25106-KMW-EGT

   UNITED AMERICAN CORP.,

                           Plaintiff

                   v.

   BITMAIN, INC., SAINT BITTS LLC d/b/a
   BITCOIN.COM, ROGER VER, BITMAIN
   TECHNOLOGIES LTD., BITMAIN
   TECHNOLOGIES HOLDING COMPANY,
   JIHAN WU, PAYWARD VENTURES, INC.
   d/b/a KRAKEN, JESSE POWELL,
   AMAURY SECHET, SHAMMAH
   CHANCELLOR, and JASON COX,

                     Defendants.
   ____________________________________/

                         PLAINTIFF’S CONSOLIDATED OPPOSITION TO
                        DEFENDANTS’ MOTIONS TO DISMISS COMPLAINT

            Plaintiff United American Corp. (“UAC”), by and through its attorneys, hereby files this

   consolidated opposition to the Motions to Dismiss filed by Defendants Payward Ventures, Inc.

   (“Kraken”) and Jesse Powell, Bitmain, Inc., and Shammah Chancellor (collectively,

   “Defendants”) [ECF Nos. 41-43].

                                             INTRODUCTION

            This lawsuit – the first antitrust action brought in the United States involving the

   cryptocurrency industry – has exposed a scheme by a tight knit network of individuals and

   organizations to manipulate the cryptocurrency market for Bitcoin Cash. For the reasons and in

   the manner set forth in great detail in the Complaint, the Defendants effectively hijacked the

   Bitcoin Cash network, centralized the market, and violated all accepted standards, protocols and




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   the course of conduct associated with Bitcoin since its inception. The highly planned and

   coordinated scheme caused a global capitalization meltdown of more than $4 billion and caused

   many U.S. Bitcoin holders – including Plaintiff – to suffer damages and irreparable harm. In

   addition to the significant damages incurred by all stakeholders in Bitcoin Cash as a result of the

   Defendants’ overt take over and manipulation of the market, there are significant long-term

   implications for world economies and particularly the U.S. economy.

            Defendants – hoping to avoid further exposure of their collusion and market manipulation

   in discovery – seek dismissal of all claims. Despite over 65 pages of motion to dismiss

   arguments, however, Defendants cannot avoid the inescapable fact that they conspired in

   restraint of trade in a manner so inherently anticompetitive and damaging to the market that they

   warrant condemnation without further inquiry into their effects on the market or the existence of

   an objective competitive justification. Defendants were supposed to be competing, not

   coordinating with each other or using other entities to facilitate that coordination. But that is

   exactly what they did, and then they took to social media and the internet and made explicit

   statements disclosing parts of their scheme.

            At bottom, the allegations of the Complaint clearly satisfy applicable standards in

   providing plausible grounds to infer an agreement in restraint of trade and, thus, an antitrust

   violation under Section 1 of the Sherman Act. The allegations also assert sufficient facts to

   support the claims for violation of state law. The motions to dismiss should be denied, and

   Plaintiff should be afforded the opportunity to further expose the unlawful scheme perpetrated by

   Defendants.




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                                                ARGUMENT

   I.       Standard for Motion to Dismiss.

            To survive a motion to dismiss, the allegations of the Complaint need only “be enough to

   raise a right to relief above the speculative level … on the assumption that all the allegations in

   the complaint are true (even if doubtful in fact).” Bell Atl. Corp.v. Twombly, 550 U.S. 544, 555

   (2007). “Detailed factual allegations” are not required. Id. “[T]he Eleventh Circuit has

   cautioned that Rule 12(b)(6) dismissals are particularly disfavored in fact-intensive antitrust

   cases” because “motive and intent play leading roles, the proof is largely in the hands of alleged

   conspirators, and hostile witnesses thicken the plot.” Lakeland Reg’l Med. Ctr., Inc. v. Astellas

   US LLC, No. 10-2008, 2011 WL 3035226, at *3 (M.D. Fla. July 25, 2011); see also Parsons v.

   Bright House Networks, No. 09-0267, 2010 WL 5094258, at *3-4 (N.D. Ala. Feb. 10, 2010)

   (“Rule 12(b)(6) dismissals are particularly disfavored in fact-intensive antitrust cases.”) (quoting

   Spanish Broad. Sys. v. Clear Channel Commc'ns, 376 F.3d 1065, 1070 (11th Cir. 2004)).

            In assessing antitrust claims under Rule 12(b)(6), the Court must examine the allegations

   of the Complaint as a whole; it is not permissible to parse the allegations into individual conduct

   and then analyze each in isolation. See, e.g., Cont’l Ore Co. v. Union Carbide & Carbon Corp.,

   370 U.S. 690, 699 (1962) (“The character and effect of a conspiracy are not to be judged by

   dismembering it and viewing its separate parts, but only by looking at it as a whole.”); U.S. v.

   Am. Tel. & Tel. Co., 524 F. Supp. 1336, 1344 (D.D.C. 1981) (“[T]here is but a single claim of

   violation of the Sherman Act before the Court, and procedurally that claim cannot be segmented

   for dismissal purposes.”); In re Pressure Sensitive Labelstock Antitrust Litig., 566 F. Supp. 2d

   363, 375 (M.D. Pa. 2008) (“Nothing in Twombly, however, contemplates this ‘dismemberment’




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   approach to assessing the sufficiency of a complaint. Rather, a district court must consider a

   complaint in its entirety without isolating each allegation for individualized review.”).

   II.      UAC’s Claim that Defendants Violated Section 1 of the Sherman Act Alleges
            Sufficient Facts to Support Conspiracy.

            Section 1 of the Sherman Act, under which UAC’s claims are brought, provides that

   “[e]very contract, combination in the form of trust or otherwise, or conspiracy, in restraint of

   trade or commerce among the several States, or with foreign nations, is declared to be illegal.”

   15 U.S.C. § 1. In addition to that bare bones recital of prohibited behavior, the Supreme Court

   has long concluded that Congress intended only to prohibit “unreasonable” restraints on trade.

   See, e.g., Arizona v. Maricopa Cty. Med. Soc., 457 U.S. 332, 343, 102 S. Ct. 2466, 2472–73

   (1982). Thus, Section 1 prohibits (1) conspiracies that (2) unreasonably (3) restrain interstate or

   foreign trade. Spanish Broad. Sys. of Fla., Inc. v. Clear Channel Commc’ns, Inc., 376 F.3d 1065,

   1071 (11th Cir. 2004); see also Ace Pro Sound & Recording v. Albertson, 512 F. Supp. 2d 1259,

   1268-69 (S.D. Fla. 2007) (applying Section 1 of the Sherman Act and requiring (1) an agreement

   that is (2) designed to achieve an unlawful purpose by unreasonably restraining trade). UAC has

   sufficiently pleaded these elements.

            A.      UAC Has Alleged Facts Plausibly Showing an Agreement.

            “Asking for plausible grounds to infer an agreement [in antitrust cases] does not impose a

   probability requirement at the pleading stage.” Twombly, 550 U.S. at 556. Courts throughout the

   country have repeatedly held that the inherently secretive nature of a conspiracy should be

   considered in applying the pleading requirements. See, e.g., Rossi v. Standard Roofing, Inc., 156

   F.3d 452, 465 (3d Cir. 1998); ES Dev., Inc. v. RWM Enters., Inc., 939 F.2d 547, 553-54 (8th Cir.

   1991); In re Petroleum Prods. Antitrust Litig., 906 F.2d 432, 439 (9th Cir. 1990). Indeed, direct

   evidence of conspiracy is not required in the Complaint. DeLong Equip. Co. v. Wash. Mills



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   Abrasive Co., 887 F.2d 1499, 1515 (11th Cir. 1989) (“Conspiracies are rarely evidenced by

   explicit agreements and must almost always be proven by inferences that may be fairly drawn

   from the behavior of the alleged conspirators.”). Rather, circumstantial evidence of agreement is

   sufficient. In re Delta/Airtran Baggage Fee Antitrust Litig., 733 F. Supp. 2d 1348, 1359-60

   (N.D. Ga. 2010) (holding that the absence of direct evidence of conspiracy may be appropriate

   grounds for summary judgment, but not a motion to dismiss, because “[plaintiffs] need not allege

   the existence of collusive communications in ‘smoke-filled rooms.’ … Plaintiffs’ complaint is

   built upon circumstantial evidence of a conspiracy; nevertheless, the Court is unable to say at this

   stage of the litigation that the inferences Plaintiffs draw from the evidence are implausible.”);

   North Jackson Pharmacy, Inc. v. Express Scripts, Inc., 345 F. Supp. 2d. 1279, 1287-88 (N.D. Ala.

   2004) (rejecting the defendants’ argument that a complaint “must include factual allegations as to

   when and how the [] agreements were made, the terms of such alleged agreements, and how

   those alleged agreements were supposedly implemented” because “these are precisely the kinds

   of details which … would likely be known only by the alleged coconspirators, and hence should

   not be required in the complaint”) (quotation omitted).

            The Eleventh Circuit has adopted a qualitative use of plus factors, taking a holistic view

   of how allegations, taken together, can support an inference of an agreement. To survive a

   motion to dismiss, the plaintiff must allege “parallel conduct” plus “further factual

   enhancement.” Twombly, 550 U.S. at 557. These so-called “plus factors” serve as proxies for

   direct evidence of an agreement. But the Eleventh Circuit has never prescribed a rigid set of

   factors or the weight of any particular factor. Instead, “any showing that tends to exclude the

   possibility of independent action can qualify as a plus factor.” Williamson Oil Co. v. Phillip

   Morris U.S.A., 346 F.3d 1287, 1301 (11th Cir. 2003) (emphasis added). The importance of any




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   factor rests on its tendency to show that the defendants’ behavior is plausibly consistent with the

   alleged conspiracy, as opposed to a rational and competitive business strategy, independently

   adopted by competing firms. Id.

            In the present case, the facts alleged in the complaint more than meet this requirement.

   Not only have the Defendants acted in uniformity, but the Defendants have made explicit

   statements declaring that they coordinated, conspired and agreed with each other. (Compl.

   ⁋⁋ 47-78; 74). The motive for pursuing this was also set out in great detail in the Complaint: that

   the Defendants sought to dominate the temporary software upgrade and implement a new

   software version with checkpoints that controlled and manipulated the value of the Bitcoin Cash

   network going forward. (Id. ⁋ 82).

            The Complaint alleges, inter alia, that during the November 15, 2018 Bitcoin Cash

   network upgrade, Ver and Bitcoin.com colluded with Jihan Wu and Bitmain to reallocate pools

   of Bitmain servers from the Bitcoin Core network (“BTC”) to Bitcoin.com’s pools in the Bitcoin

   Cash network minutes before the implementation of the Bitcoin Cash network upgrade. (Compl.

   ⁋ 59). The Complaint further alleges that these actions were intentional and clearly planned in

   advance, with Bitmain organizing deployment (or actually redeployment) of up to 90,000

   Bitmain Antminer S9 servers in early November.1 (Id. ⁋ 61). The Complaint then alleges that

   Bitcoin ABC – through defendants Amaury Sechet, Shammah Chancellor, and Jason Cox –

   implemented a checkpoint in the chain that “centralized” what should be a decentralized market




   1
          As alleged by UAC, the Bitcoin ABC pool hashing power rose to a level that had not
   previously been seen indicating the intermittent deployment of “rented” hashing. This type of
   hashing peak is not a normal occurrence. The peaks continued several times in the subsequent
   days until they leveled off to normal levels once Bitcoin ABC had taken control of the
   blockchain. (Compl. ⁋ 60).


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   and coordinated, conspired and agreed with Kraken (a well-known Bitcoin exchange) to have the

   ABC chain effectively recognized as the official blockchain of Bitcoin Cash. (Id. ⁋⁋ 69-76).

            Indeed, the Complaint references and incorporates a YouTube video of an online forum

   wherein Andreas Brekken – a software engineer at Kraken (the exchange) – acknowledges that

   Bitcoin ABC developers and crypto exchanges such as Kraken agreed to the entire scheme in

   advance, stating among other things:

                     “this has been planned for so long, we knew we were going to win, and we
                      knew we were going to checkpoint, and we knew we are not going to do deep-
                      reorgs, so we have just been… drinking beers all day because we knew we
                      won…”

                     “another step you do is, you talk to all the exchanges… then you have them
                      apply a patch which adds a checkpoint that anchored to blockmine by Bitcoin
                      ABC which prevents all future re-orgs (audible whistle)…”

   (Id. ⁋ 74, citing to and incorporating https://www.youtube.com/watch?v=UjAHJY0QZhs).

                In short, the allegations asserted by UAC in the Complaint more than plausibly show an

   agreement between the Defendants. The relevant facts with respect to the antitrust claims

   include (but are not limited to) the following:

                     Bitmain re-deployed up to 90,000 servers to the pools of Bitcoin.com (owner by
                      Roger Ver) (Id. ⁋ 61);

                     that Bitcoin ABC developers (including Shammah Chancellor) then implemented
                      a checkpoint that centralized the market and coordinated with exchanges such as
                      Kraken – an exchange in which Roger Ver is a principal investor – so that Kraken
                      would recognize the new chain and effectively prevent all future re-orgs (Id. ⁋ 69-
                      74); and




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                   that a Kraken software engineer has openly acknowledged that this was pre-
                    planned and “we knew were going to win.” (Id. ⁋ 74).

            It is telling that an employee of Kraken – the exchange – would be using the term “we” in

   stating “we knew we were going to win.” What did an employee of an ostensibly neutral and

   open exchange stand to “win” unless they were conspiring with the other Defendants?

            An imaginative person might be able to create alternative explanations for why all of

   these parties acted in unison to dominate the temporary software upgrade, implement a new

   software version with checkpoints, and take total control of the value of the Bitcoin Cash

   network going forward – all without having any contact and\or knowledge of what the other

   defendants were doing. Of course, the video of Mr. Brekken leaves little to the imagination. The

   bottom line is that Defendants would not have acted as they did if they had not coordinated,

   conspired and agreed with each other. When they re-deployed 90,000 servers, they knew it was

   rigged. When the developers created a software with a checkpoint, they knew it was rigged and

   that the exchange would apply the patch. When all of these acts are viewed as a whole, it is

   enough to “nudge the claim across the line from conceivable to plausible.” See Jacobs v.

   Tempur-Pedic Intern., Inc., 626 F.3d 1327, 1333 (11th Cir. 2010).2




   2
           It is also evident that the unregulated cryptocurrency market has a structure that is highly
   susceptible to collusion. Several circuits have held that allegations showing a market susceptible
   to collusion, while not alone sufficient, can nudge other factual allegations tending to show an
   agreement across the line to plausibility. See, e.g., In re Text Messaging Antitrust Litig., 630 F.3d
   622, 627–28 (7th Cir. 2010); SD3, LLC v. Black & Decker (U.S.) Inc., 801 F.3d 412 (4th Cir.
   2015); Evergreen Partnering Grp., Inc. v. Pactiv Corp., 720 F.3d 33, 48 (1st Cir. 2013); Starr v.
   Sony BMG Music Entm’t, 592 F.3d 314, 323 (2d Cir. 2010); In re Flat Glass Antitrust Litig., 384
   F.3d 350, 360–61 (3d Cir. 2004) (considering market structure a plus factor for summary
   judgment analysis pre-Twombly). Market structure susceptible to collusion is not independently a
   plus factor, but it can place other allegations “in a context that raises a suggestion of preceding
   agreement.” Twombly, 550 U.S. at 557 n.4.


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            In sum, the facts alleged in the Complaint are sufficient for the agreement element of a

   Sherman Act conspiracy.

            B.     UAC Has Sufficiently Alleged Unlawful Purposes of the Conspiracy.

            Restraints analyzed under the per se rule are those that are always (or almost always) so

   inherently anticompetitive and damaging to the market that they warrant condemnation without

   further inquiry into their effects on the market or the existence of an objective competitive

   justification. U.S. v Socony-Vacuum Oil Co., 310 U.S 150 (1940); United States v. Sealy, Inc.,

   388 U.S. 350 (1967); United States v. Topco Associates, Inc., 405 U.S. 596 (1972); Craftsmen

   Limousine, Inc. v. Ford Motor Co., 363 F.3d 761 (8th Cir. 2004). Defendants are not entitled to

   justify their behavior based on any objective competitive justifications. Northern Pac. Ry. Co. v.

   U.S., 356 US (1940); Agnew v. National Collegiate Athletic Ass’n, 683 F.3d 328 (7th Cir. 2012);

   In re Flat Glass Antitrust Litigation, 385 F.3d 350 (3rd Cir. 2004). And a plaintiff has less

   responsibility to analyze the market where the restraint is deemed per se anticompetitive.

   National Soc. of Professional Engineers v. U.S., 435 U.S. (1878); In re Insurance Brokerage

   Antitrust Litigation, 618 F 3d 300 (2010); In re Southeastern Milk Antitrust Litigation, 739 F.3d

   262 (2014).3



   3
           Although defining the relevant market is unnecessary where, as here, the per se rule
   should be applied because the alleged restraints are inherently anticompetitive and damaging to
   the market, the allegations of the Complaint are nevertheless adequate. Defining the relevant
   market is a fact-intensive inquiry that will rarely form a basis to dismiss a complaint. See, e.g.,
   Lakeland Reg'l Med. Ctr., Inc. v. Astellas US LLC, 2011 U.S. Dist. LEXIS 80723, *8 (M.D. Fla.
   2011) (Plaintiff need not “provide the contours of the relevant markets at the complaint stage. At
   this stage, [plaintiff] is not required to come forward with any evidence to prove that the
   allegations in its complaint are true.”); Newcal Indus. v. IKON Office Solutions, 513 F.3d 1038,
   1045 (9th Cir. 2008) (holding that “since the validity of the ‘relevant market’ is typically a
   factual element rather than a legal element, alleged markets may survive scrutiny under Rule
   12(b)(6) subject to factual testing by summary judgment or trial”); Todd v. Exxon Corp., 275
   F.3d 191, 199-200 (2d Cir. 2001) (“Because market definition is a deeply fact-intensive inquiry,
   courts hesitate to grant motions to dismiss for failure to plead a relevant product market.”). The


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            Here, the Complaint alleges that the Defendants’ collective actions achieved the unlawful

   purposes of the alleged conspiracy: (1) manipulating the cryptocurrency market for Bitcoin Cash

   and effectively hijacking the Bitcoin Cash network, centralizing the market, and violating all

   accepted standards and protocols associated with Bitcoin since its inception; (2) violating the

   Nakamoto Whitepaper and consensus rules regarding voting; and (3) precluding future changes

   to Bitcoin cash functionality as well as changes to the consensus rules. (Compl. ⁋⁋ 82-83). Each

   of these on its own is sufficient to satisfy the unlawful purpose element.

            As Defendants Kraken and Powell point out in their motion to dismiss, this is a case of

   first impression. (Kraken Mtn. p. 10). It is the first antitrust action brought in the United States

   involving the dynamic and constantly evolving cryptocurrency industry. (Id.) No court has yet

   decided whether the hijacking of a single cryptocurrency network is a per se automatic violation

   of the federal antitrust laws. (Id.) The articulated scheme perpetrated by Defendants should

   absolutely be treated as a per se violation. The actions of Defendants here were akin to bid

   rigging, except the miners (who are supposed to be competing with each other) were effectively

   bidding with their votes and then changing the rules of the auction after they won the bid. Bid

   rigging has consistently been treated by Courts as a per se violation of the Sherman Act. See

   e.g., U.S. v. Joyce, 895 F.3d 673, 679 (9th Cir. 2018) (“Because bid rigging is per se illegal under

   Section 1 of the Sherman Act, the district court did not err by refusing to permit [Defendant] to

   introduce evidence of the alleged ameliorative effects of his conduct.”).




   judicial reluctance to dispose of market definition allegations on a motion to dismiss stems from
   Twombly’s clear mandate that “the plausibility standard does not require probability.” 550 U.S. at
   556. Nevertheless, UAC’s Complaint is clear in identifying a plausible product and geographic
   market – the Bitcoin blocks being mined by miners throughout the world on the Bitcoin Cash
   blockchain (now Bitcoin Cash ABC).



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            Although this is an evolving industry, it is well-established that the means through which

   a restraint on trade is accomplished need not be inherently anticompetitive. Am. Tobacco Co. v.

   United States, 328 U.S. 781, 809 (1946) (“It is not of importance whether the means used to

   accomplish the unlawful objective are in themselves lawful or unlawful. Acts done to give effect

   to the conspiracy may be in themselves wholly innocent acts. Yet, if they are part of the sum of

   the acts which are relied upon to effectuate the conspiracy which the statute forbids, they come

   within its prohibition.”); Accord LePage’s, Inc. v. 3M, 324 F.3d 141, 162 (3d Cir. 2003) (“The

   relevant inquiry is the anticompetitive effect of 3M’s exclusionary practices considered

   together.”).

            Here, UAC alleges that Nakamoto’s Whitepaper makes express that nodes in the system

   “vote with their CPU power, expressing their acceptance of valid blocks by working on

   extending them…” (Compl. ⁋ 64). While nodes “can leave and rejoin the network,” it has

   always been understood that it is the nodes that are mining the blockchain that are able to “vote

   with their CPU power.” (Id.). By essentially bringing in mercenaries from another network (the

   BTC network) to temporarily mine the Bitcoin Cash network during the software upgrade and

   then leave, Bitmain and Bitcoin.com effectively “rigged the bid” and hijacked the blockchain.

   (Id. at 65). Their actions diluted the “vote” being exercised by the existing nodes during the

   upgrade, violated the ground rules of the network that other users had relied on and respected for

   years, and artificially pumped up the chain implementation with computer hashes to dominate

   the temporary software upgrade. (Id.).

            Indeed, UAC alleges very particular data and specificity illustrating that during the week

   immediately preceding the network upgrade, Bitcoin.com and the Bitmain pools were

   collectively awarded 27.6% of the blocks being mined from the blockchain. (Compl. ⁋ 67). The




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   day after the network upgrade, Bitcoin.com and the Bitmain pools were being awarded 100% of

   the blocks. (Id. ⁋ 68). Add to that the fact that the implementation of the checkpoint precludes

   current miners on the blockchain from doing exactly what the Defendants did in this scenario.

   With the checkpoint/poison pill now in place, to implement a new software in the manner

   Defendants did would require a miner to mine 10 consecutive blocks in a row – something that

   has never been done and is effectively impossible. Only Defendants can remove the checkpoint

   and change the software now – a reflecting of their manipulation and domination of the market

   and a tacit admission that what they did was an unlawful restraint.

             In short, UAC’s allegations, and reasonable inferences, reveal a pattern of conduct

   designed to achieve the unlawful purposes alleged. No more is required under Twombly.4

   III.      The Complaint Adequately Alleges Facts in Support of its Negligence Based Claims.

             A.      Count II Adequately States a Claim for Negligent Misrepresentation.

             Under Florida law, the elements of a negligent misrepresentation claim are: (1) a

   misrepresentation of material fact; (2) that the representor either knew or should have known was

   false; (3) that the representor intended to induce another to act on the misrepresentation; and (4)

   that injury resulted to the party acting in justifiable reliance on the misrepresentation. See e.g.,

   Paine v. Domino’s Pizza, LLC, 2011 WL 1102788, at *3 n.4 (S.D. Fla. Mar. 24, 2011) (quoting

   Allocco v. City of Coral Gables, 221 F.Supp. 2d 1317, 1355 (S.D. Fla. 2002), aff’d 88 F. App’x

   380 (11th Cir. 2003)).




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            Twombly requires a court to assume as true the facts alleged and all reasonable inferences
   therefrom; it does not restrict courts to accepting as true only those facts and inferences that,
   taken alone and without context, are more plausibly consistent with conspiracy than self-interest.
   A plaintiff need only show that the facts and reasonable inferences collectively establish a claim
   that is “plausible on its face.”


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            The motions to dismiss argue that UAC has failed to plead a claim for negligent

   misrepresentation because UAC has failed to plead the requisite level of particularity and fails to

   plead the “what, when, where, and how” of the alleged misrepresentation. (Chancellor Mtn. p.

   21; Bitmain Mtn. p. 13; Kraken Mtn. p. 15).

            The Complaint alleges that Defendants misrepresented to Plaintiff and the market that

   they would abide by the Whitepaper and accepted standards and protocols. (Compl. ⁋ 87). It is

   clear from the alleged conspiracy and the entirety of the Complaint and the scheme set forth in

   great detail and particularity therein (which allegations are incorporated into Count I) that

   Defendants had no intention of abiding by said standards and protocols. (Id. ⁋ 90). Instead, the

   Defendants5 colluded with one another to hijack the blockchain. They diluted the “vote” being

   exercised by the existing nodes during the upgrade, violated the ground rules of the network that

   other users had relied on and respected for years, and artificially pumped up the chain

   implementation with computer hashes to dominate the temporary software upgrade. (Id. ⁋ 89).

   Then, for good measure, the Defendants implemented a checkpoint that “centralized” what

   should be a decentralized market due to the way the checkpoint was added and its location close

   to the tip of the blockchain. (Id.).

            The Complaint further alleges that Plaintiff justifiably relied on Defendants’

   misrepresentations by investing millions of dollars in development and deployment of

   infrastructure specifically for the mining of Bitcoin Cash. As participants in the Bitcoin Cash

   network, Defendants should have known that the other participants in the network were relying



   5
           The motions to dismiss each assert that UACs claims impermissibly lump together the
   individual and corporate defendants, however, the Complaint goes into great detail of the alleged
   scheme and the various players involved and the actions taken by each vis-à-vis the alleged
   wrongdoing. (Compl. ⁋⁋ 47-79). These allegations are incorporated into each and every claim
   asserted in the Complaint.


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   on the accepted standards and protocols for the network. Had UAC known that Bitmain intended

   to dilute the “vote” being exercised by the existing nodes during the upgrade and artificially

   pumped up the chain implementation with computer hashes, UAC would not have invested

   millions. Had UAC known that Chancellor intended to implement a checkpoint in the software

   that “centralized” what should be a decentralized market, UAC would not have invested

   millions. Had UAC known that the parties intended to collude with Kraken and Powell – facts

   explicitly acknowledged by Brekken in the video – UAC would not have invested millions. But

   instead, UAC (and many other parties like it that Defendants each knew or should have known

   were mining the network) justifiably relied on the misrepresentation and was damaged. (Id. ⁋

   92).

             B.      Count III Adequately States a Claim for Negligence.

             Under Florida law, the elements of a negligence claim are “duty, breach, causation, and

   damages.” See e.g., Florida Dept. of Corr. v. Abril, 969 So. 2d 201, 209 (Fla. 2007); see also

   Honig v. Kornfield, 339 F. Supp. 3d 1323, 1339 (S.D. Fla. 2018).            The motions to dismiss argue

   that UAC has failed to plead facts giving rise to any cognizable duty of care to UAC or that they

   breached any such duty. (Chancellor Mtn. p. 22; Bitmain Mtn. p. 16; Kraken Mtn. p. 18).

             Florida law recognizes four sources of duty in negligence-related actions: (1) statutes or

   regulations; (2) common law interpretations of those statutes or regulations; (3) other sources in

   the common law; and (4) the general facts of the case. See Jackson Hewitt, Inc. v. Kaman, 100

   So. 3d 19, 28 (Fla. 2d DCA 2011). Importantly, Florida’s existing common law imposes, as it

   should, a duty to exercise reasonable care upon a defendant with respect to its conduct of a

   foreseeable activity where the consequences of its conduct pose a foreseeable risk to others. See,

   e.g., Limones v. School District of Lee County, 161 So. 3d 384, 389 (Fla. 2015); McCain v.




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   Florida Power Co., 593 So. 2d 500, 502 (Fla. 1992). The determination of the existence of a

   common law duty flowing from the general facts of the case depends upon an evaluation and

   application of the concept of foreseeability of harm to the specific circumstances alleged. See

   Dorsey v. Reider, 139 So. 3d 860, 863 (Fla. 2014). “When a person’s conduct is such that it

   creates a ‘foreseeable zone of risk’ posing a general threat of harm to others, a legal duty will

   ordinarily be recognized to ensure the conduct is carried out reasonably.” Id.

             Very similar to the negligent misrepresentation claim, the negligence claim in the

   Complaint alleges that Defendants owed a duty of care to UAC to abide by the Whitepaper and

   accepted standards and protocols. (Compl. ⁋ 94). Defendants breached their duty of care to the

   Plaintiffs by failing to conform to and abide by the Whitepaper and accepted standards and

   protocols and hijacking and assuming control of the Bitcoin Cash network and market. (Id. ⁋

   95).

             Once again, as participants in the Bitcoin Cash network, the conduct of Defendants in

   failing to conform to and abide by the Whitepaper and accepted standards and protocols,

   hijacking and assuming control of the Bitcoin Cash network, and implementing a checkpoint that

   centralized what should be a decentralized market, posed a foreseeable risk to the other

   participants in the blockchain, including UAC. For the same reasons already set forth above, the

   Defendants are alleged to have breached that duty and Plaintiff is alleged to have been damaged.

             Defendants knew or should have known that the other participants in the network were

   relying on the accepted standards and protocols for the network. Had UAC known that Bitmain

   intended to dilute the “vote” being exercised by the existing nodes during the upgrade and

   artificially pumped up the chain implementation with computer hashes, UAC would not have

   invested millions. Had UAC known that Chancellor intended to implement a checkpoint in the




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   software that “centralized” what should be a decentralized market, UAC would not have invested

   millions. Had UAC known that the parties intended to collude with Kraken and Powell – facts

   explicitly acknowledged by Brekken in the video – UAC would not have invested millions. But

   instead, UAC (and many other parties like it that Defendants each knew or should have known

   were mining the network) justifiably relied on the misrepresentation and was damaged. (Id. ⁋

   92).

   IV.       The Complaint Adequately Alleges Facts in Support of its Unjust Enrichment Claim.

             The elements of a claim for unjust enrichment are: (1) the plaintiff conferred a benefit

   upon the defendant; (2) the defendant was aware of and accepted the benefit; and (3) it would be

   inequitable for the defendant to retain the benefit. Ascentium Corp. v. Terremark N. Am., Inc.,

   2011 WL 1233256 *2 (S.D. Fla. March 30, 2011) (citation omitted). Bitmain’s motion to

   dismiss argues that UAC’s claim for unjust enrichment should be dismissed because UAC has

   failed to identify any benefit that it conferred upon Bitmain. (Bitmain Mtn. pp. 18-19).

             For years, individuals and entities such as UAC mined the Bitcoin network (which

   continued as Bitcoin Cash as of Aug 15, 2017). The collective efforts of these parties and their

   significant investment in this cryptocurrency network created significant value. Then, the

   Defendants colluded with one another to hijack the blockchain and implemented a checkpoint

   that “centralized” what should be a decentralized market. (Compl. ⁋⁋ 47-78). The value of the

   network that UAC helped create was taken by Defendants Bitmain, Bitcoin.com, and Ver, who

   received and retained the benefit obtained from their manipulative acts. (Id. ⁋ 107). Meanwhile,

   other users such as UAC were cut out of the network and lost the value of their significant

   investments. (Id. ⁋ 109). Although the value of the cryptocurrency has decreased, the fact

   remains that Defendants have received the benefit of a significant volume and percentage of the




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   blocks being mined on the blockchain (at one point as high as 100% of the blocks were being

   awarded to Bitcoin.com and Bitmain). (Compl. ⁋ 68).

            For these reasons, UAC has alleged every element to assert a claim for unjust enrichment

   against Bitmain.

   V.       The Complaint Adequately Alleges Facts in Support of its Conversion Claim.

            Under Florida law, “conversion is an ‘act of dominion wrongfully asserted over another’s

   property inconsistent with his ownership therein.’” Nardolilli v. Bank of Am. Corp., 2013 WL

   12154541, at *5 (S.D. Fla. Dec. 5, 2013) (quoting United Techs. Corp. v. Mazer, 556 F.3d 1260,

   1270 (11th Cir. 2009)).

            UAC alleges that Defendants are wrongfully exercising dominion and control over

   Bitcoin Cash and its blockchain network and market inconsistent with the use and possessory

   rights of the Plaintiff. (Compl. ⁋ 112). Specifically, Defendants’ conduct has deprived the

   Plaintiff of the right to utilize and possess Bitcoin Cash and its blockchain network as intended

   pursuant to the Whitepaper and its accepted standards and protocols and the conduct is

   inconsistent with the Plaintiff’s rights to use the network pursuant to said standards and

   protocols. (Id. ⁋ 113). In short, but for Defendants’ unlawful conspiracy to hijack the

   blockchain, other users such as UAC would still be mining the network and being awarded

   blocks for their efforts. Instead, Defendants chose to “lock down” the blockchain (a fact they

   have explicitly admitted to in the aforementioned video) and effectively exercised dominion over

   and converted the blockchain. (Id. ⁋⁋ 72-74).

   VI.      The Injunctive Relief Should Be Treated As Requested Relief For State Law Claims.

            UAC does not dispute that injunctive relief is a remedy. The facts set forth in the

   Complaint, however, establish the likelihood of irreparable harm absent the injunctive relief, a

   clear legal right, and that other remedies at law are inadequate. Accordingly, UAC requests that


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   its request for injunctive relief – which is also set forth in the Prayer for Relief section on page

   26 of the Complaint – be regarded as part of the requested relief for its other asserted claims.

                                               CONCLUSION

            For the reasons discussed above, Plaintiff respectfully requests that the Court deny

   Defendants’ Motions to Dismiss [ECF Nos. 41-43] in their entirety, and for any further relief this

   Court deems appropriate.

   Dated: March 7, 2019                             Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on March 7, 2019, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF.

                                                         /s/ Michael O. Mena
                                                         Michael O. Mena




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